               Case 3:20-cv-05337-RJB-TLF Document 19 Filed 07/24/20 Page 1 of 3



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                                   UNITED STATES DISTRICT COURT
7                            FOR THE WESTERN DISTRICT OF WASHINGTON,
                                            AT TACOMA
8
     COUNTRY MUTUAL INSURANCE
9    COMPANY, an Illinois corporation                      Cause No. 3:20-cv-05337 RJB-TLF
     individually and as successor in interest to
10   HOLYOKE MUTUAL INSURANCE                              COUNTRY MUTUAL INSURANCE
     COMPANY IN SALEM,                                     COMPANY'S REPLY IN SUPPORT OF
11                                                         MOTION FOR SUMMARY JUDGMENT
                                      Plaintiff,
12                                                         NOTED FOR: JULY 24, 2020
               vs.
13
     EVERGREEN LANDING, LLC
14
                                      Defendant.
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               Plaintiff Country Mutual Insurance Company, individually and as successor in interest
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     to Holyoke Mutual Insurance Company in Salem (“Country Mutual”) served Defendant
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     Evergreen Landing, LLC (“Evergreen”) with plaintiff’s motion for summary judgment on June
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     18, 2020. Plaintiff’s motion for summary judgment was originally noted for Friday, July 10,
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     2020. At the end of June, defense counsel contacted plaintiff’s counsel requesting that the
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     motion be re-filed on July 24, 2020.1 Defense counsel noted that defendant’s response brief was
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         See the Supplemental Declaration of Misty Edmundson at Exhibit A (“Supp’l Edmundson Decl.”).

     COUNTRY MUTUAL INSURANCE COMPANY'S REPLY IN SUPPORT                           SOHA & L ANG, P.S.
                                                                                      ATTORNEYS AT LAW
     OF MOTION FOR SUMMARY JUDGMENT – 1                                        1325 FOURTH AVENUE, STE 2000
     USDC WD WA/TACOMA CAUSE NO. 3:20-cv-05337 RJB-TLF                          SEATTLE, WASHINGTON 98101
                                                                             (206) 624-1800/FAX (206) 624-3585
     1218.00009 mg225g086w
               Case 3:20-cv-05337-RJB-TLF Document 19 Filed 07/24/20 Page 2 of 3



1    due the Monday following the Fourth of July holiday. As a compromise, Plaintiff’s counsel

2    offered to re-note the pending summary judgment motion to be heard on July 24, 2020, in order

3    to accommodate the holiday and provide an additional two weeks for the defendant to respond

4    to the motion.2 Defense counsel not only failed to respond to plaintiff’s counsel’s offer of

5    compromise, Defendant failed file a response brief on July 6, 2020.3 Despite defendant’s failure

6    to file its brief by the deadline, as a courtesy, plaintiff re-noted the motion for Friday, July 24,

7    2020 anyway, as it had offered to do.4 Evergreen’s response to the motion for summary

8    judgment was then due on July 20, 2020. However, once again Defendant failed to file an

9    opposition brief in response to Plaintiff’s motion for summary judgment.

10             Because there are no genuine issues of material fact that would preclude summary

11   judgment, and for the reasons outlined in its motion papers, Country Mutual requests that the

12   Court grant its unopposed motion for summary judgment and enter an order declaring that:

13             (1)    The Country Mutual Policy provides no coverage to defendant Evergreen for the

14   claims alleged against by Tiffany Casto and Ryan Jacobs in the Liability Action;

15             (2)    Country Mutual has no duty to defend Evergreen in the Liability Action;

16             (3)    Country Mutual may withdraw from the defense it is currently providing to

17   Evergreen in the Liability Action;

18             (4)    Country Mutual has no duty to indemnify Evergreen for any settlement entered

19   into, or judgment entered against it, with respect to the claims alleged in the Liability Action;

20   and

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         Supp’l Edmundson Decl., Exhibit B and Exhibit C.
22
     3
         Supp’l Edmundson Decl., Exhibit D.
23   4
         Supp’l Edmundson Decl., Exhibit E.

     COUNTRY MUTUAL INSURANCE COMPANY'S REPLY IN SUPPORT                           SOHA & L ANG, P.S.
                                                                                      ATTORNEYS AT LAW
     OF MOTION FOR SUMMARY JUDGMENT – 2                                        1325 FOURTH AVENUE, STE 2000
     USDC WD WA/TACOMA CAUSE NO. 3:20-cv-05337 RJB-TLF                          SEATTLE, WASHINGTON 98101
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            Case 3:20-cv-05337-RJB-TLF Document 19 Filed 07/24/20 Page 3 of 3



1            (5)     Country Mutual is entitled to reimbursement of defense costs expended in

2    defending Evergreen in the Liability Action since September 6, 2019.

3            DATED this 24 day of July, 2020.

4                                               SOHA & LANG, P.S.

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                                                By:    /s/Misty Edmundson
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7
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                                                  Telephone: 206-624-1800
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                                                  Attorneys for Plaintiff Country Mutual
11
                                                  Insurance Company, an Illinois corporation
                                                  individually and as successor in interest to
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                                                  Holyoke Mutual Insurance Company in Salem
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     COUNTRY MUTUAL INSURANCE COMPANY'S REPLY IN SUPPORT                        SOHA & L ANG, P.S.
                                                                                   ATTORNEYS AT LAW
     OF MOTION FOR SUMMARY JUDGMENT – 3                                     1325 FOURTH AVENUE, STE 2000
     USDC WD WA/TACOMA CAUSE NO. 3:20-cv-05337 RJB-TLF                     SEATTLE, WASHINGTON 98101
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